             IN THE COURT OF APPEALS OF NORTH CAROLINA

                               2021-NCCOA-177

                                No. COA20-368

                               Filed 4 May 2021

Cumberland County, Nos. 10 CVS 2964, 17 CVS 6272

JOHN C. CULBRETH, JR., Individually and Derivatively on Behalf of SOUTHEAST
DEVELOPMENT OF CUMBERLAND, LLC, and SOUTHEAST DEVELOPMENT
OF CUMBERLAND, LLC, Plaintiffs

            v.

CHRIS MANNING, Defendant


JOHN C. CULBRETH, JR., Derivatively on               Behalf   of   SOUTHEAST
DEVELOPMENT OF CUMBERLAND, LLC, Plaintiff


            v.


GREEN VALLEY SOUTH LLC              and   SOUTHEAST      DEVELOPMENT        OF
CUMBERLAND, LLC, Defendants


      Appeal by Defendant Manning from Order entered 17 December 2019, by

Judge Mary Ann Tally in Cumberland County Superior Court. Heard in the Court of

Appeals 10 February 2021.


      Brooks, Pierce, McClendon, Humphrey &amp; Leonard, L.L.P, by Charles E. Coble
      and Walter L. Tippett, Jr., for plaintiff-appellee.

      Hutchens Law Firm, by Natasha M. Barone, H. Terry Hutchens, J. Scott
      Flowers, and J. Haydon Ellis, for defendant-appellant Chris Manning.


      HAMPSON, Judge.
                                      CULBRETH V. MANNING

                                         2021-NCCOA-177

                                        Opinion of the Court



                            Factual and Procedural Background

¶1            Chris Manning (Defendant) appeals from the trial court’s Order dated 17

     December 2019, which granted John C. Culbreth, Jr., (Plaintiff), individually and

     derivatively on behalf of Southeast Development of Cumberland, LLC’s (Southeast)

     Motion to Enforce Settlement Agreement, which included entering judgment against

     Defendant in the amount of $170,349.00. The Record reflects the following relevant

     facts:

¶2            Beginning in 2003, Plaintiff and Defendant formed Southeast, a member-

     managed, limited liability company organized in the State of North Carolina, of which

     they each owned a fifty-percent interest. In 2010, Plaintiff and Defendant began to

     dispute the management of Southeast.

¶3            Plaintiff filed a complaint alleging Defendant mismanaged finances and record

     keeping (the 2010 Action), and ultimately, on 14 February 2011, the Cumberland

     County Superior Court entered an Order (2011 Referee Order) appointing Lawrence

     W. Blake, CPA, as a referee under N.C. R. Civ. P. 53 to “collect, review and examine

     the financial, banking, corporate and other records of [Southeast]” to determine the

     members capital accounts, identify Southeast’s assets and liabilities, and prepare a

     balance sheet and statement of profit and loss. The 2011 Referee Order directed

     Blake to file this report with the trial court on or before 6 June 2011, and provided:

     “This Court retains jurisdiction of this matter to enter further Orders necessary or
                                        CULBRETH V. MANNING

                                            2021-NCCOA-177

                                           Opinion of the Court



     required by the Referee or the parties to enforce the terms of this Order.” Accordingly,

     Blake filed reports on 3 June 2011, 16 August 2011, and again on 12 June 2012.

¶4          However, five years later, on 23 August 2017, Plaintiff derivatively on behalf

     of Southeast, instituted a second action against Defendant and Green Valley South

     LLC (Green Valley), a limited liability company of which Defendant owned a fifty-

     percent interest (the 2017 Action).

¶5          On 10 December 2018, the parties entered into a Settlement Agreement,

     agreeing “to resolve and to settle all controversies between them, including any

     claims each may have asserted or could have asserted in the Subject Actions[.]”1 The

     Settlement Agreement provided in paragraph 2(e):

                Plaintiff and Defendant will reconcile their respective capital
                accounts in Southeast, pursuant to a report (“the Blake Report”)
                to be prepared by L. W. Blake, CPA (“Blake”), who was previously
                appointed by the Court to serve as a referee in the 2010 Action.
                The Blake Report will be completed by February 29, 2019, and
                shall direct that either Plaintiff or Defendant shall make such
                payment within 30 days as is necessary to balance their
                Southeast capital accounts. The Blake Report shall be prepared
                consistent with the following terms:

                   (i) Defendant shall deposit $25,000.00 (the “Blake Deposit”)
                   with Blake to pay his fees and expenses in completing the
                   Blake Report. Defendant shall receive a credit toward his
                   Southeast capital account equal to the amount of the Blake
                   Deposit actually expended and to a refund of the remainder.



            1 The Settlement Agreement defined, “the 2010 Action and the 2017 Action may be

     referenced herein as ‘the Subject Actions[.]’ ” (emphasis in original).
                                    CULBRETH V. MANNING

                                        2021-NCCOA-177

                                       Opinion of the Court



                  (ii) Plaintiff, Defendant, and their respective accounting and
                  legal advisors shall be entitled to communicate with Blake in
                  regard to his preparation of the Blake Report so long as any
                  written communications are contemporaneously provide[d] to
                  counsel for the other party. Blake shall be similarly entitled
                  to seek information from the parties and their advisors.

                  (iii) Defendant shall be entitled to a credit toward his
                  Southeast capital account equal to the Settlement Payment.
                  Blake shall determine whether the Settlement Payment, or
                  any portion thereof, should be deducted from Plaintiff’s capital
                  account.

                  (iv) The Blake Report shall be binding and not subject to
                  appeal. It may be converted to a judgment in the 2010 Action
                  upon the motion of either Plaintiff or Defendant if the party
                  directed to make the required payment. If the party directed
                  to make a payment completes his obligation to do so, then the
                  2010 Action shall be promptly dismissed by Plaintiff or by
                  order of the Court, together with cancellations of all Notices of
                  Lis Pendens and similar documents clouding title to real
                  property that any Party has filed in regard to the 2010 Action.

     (emphasis in original).   In releasing the parties from all claims, the Settlement

     Agreement maintained “this release shall not be construed to release any claim

     arising in favor of or against any Party due to an alleged breach of this Agreement or

     failure to comply with the Blake Report.”

¶6         The next day, on 11 December 2018, the parties filed a Joint Motion for

     Approval of Discontinuance of Derivative Proceedings. The parties’ Joint Motion

     explained “the claims in File No. 10 CVS 2964 will be administered with the

     assistance of L.W. Blake, CPA, who was previously appointed by this Court as a
                                   CULBRETH V. MANNING

                                       2021-NCCOA-177

                                      Opinion of the Court



     referee in that matter;” and provided the claims in the 2010 Action would be

     dismissed with prejudice “upon the completion of Mr. Blake’s Report and the parties

     adherence thereto[.]”   On 17 December 2018, the trial court entered an Order

     Approving Discontinuance of Derivative Proceedings (Approval Order), consistent

     with the parties’ Joint Motion, which provided:

              The derivative claims in File No. 10 CVS 2964 shall be
              administered and adjudicated as set forth in Settlement
              Agreement. This Court shall retain jurisdiction for entry of a
              judgment or such other orders as may be necessary to enforce or
              complete the settlement, if necessary. Otherwise, Plaintiffs’
              counsel is authorized to file a dismissal of the derivative claims
              without further order of the Court[.]

     (Emphasis added).

¶7         Then, on 18 October 2019, Plaintiff filed a Motion to Show Cause and for relief

     from the Approval Order on the basis that Blake failed to complete the Report by the

     29 February 2019, date agreed upon in the Settlement Agreement. Plaintiff further

     alleged that on 21 June 2019, “Blake committed to complete his report by August 1,

     2019.” Yet, “Blake failed to complete his report by August 1, 2019[,] and, further,

     Blake “failed to communicate in any manner whatsoever since June 21, 2019” and

     did not respond to communications from counsel dated 19 September and 4 October

     2019. On 22 October 2019, the trial court entered an Order for Completion of Capital

     Account Report (Completion Order), which ordered:
                                     CULBRETH V. MANNING

                                         2021-NCCOA-177

                                        Opinion of the Court



               (1) On or before 5:00 P.M. on Tuesday, November 12, 2019, the
               Referee shall serve the report contemplated by paragraph 2(e) of
               the parties’ Settlement Agreement to each of the parties’ counsel
               of record; and

               (2) The hearing on the Motion is continued . . . unless such
               matters have been rendered moot by the Referee’s service of the
               report, as required above.

     On 12 November 2019, Blake transmitted his Report (the Blake Report) to the trial

     court. The Blake Report provided, “As of December 31, 2018 the capital account of

     Chris Manning was a deficit of $501,965, the capital account of John C. Culbreth was

     a deficit of $331,616. I have attached Exhibit A to this letter.” The Blake Report

     continued to identify: related parties, open assets or unpaid liabilities that Blake did

     not consider to be “related party entities,” those open assets and unpaid liabilities

     that Blake did consider to be related party entities, partnership investments,

     settlement payments, cashless transfers of real estate, and a 2011 Curtailment

     Agreement with First Bank.

¶8         Blake also attached Exhibit B:

               The purpose of Exhibit B is to provide the Court with a summary
               that may be useful in quantifying the facts and circumstances
               provided in previous paragraphs. As a starting point, Exhibit B
               uses the December 31, 2018 capital accounts as shown on Exhibit
               A. Calculation of the partner’s capital accounts is my prime
               directive as described in paragraph 2(e) of your December 17,
               2018 order. Presented in Exhibit B are three additional financial
               groupings that are not strictly capital contributions or
               distributions.
                                         CULBRETH V. MANNING

                                             2021-NCCOA-177

                                            Opinion of the Court



       (emphasis added).

¶9            On 5 December 2019, Plaintiff, individually and derivatively on behalf of

       Southeast, filed a Motion to Enforce Settlement Agreement. In his Motion, Plaintiff

       requested the trial court enter a judgment directing Defendant pay Plaintiff

       $170,349.00—the difference in the deficits of Plaintiff and Defendant’s respective

       capital accounts. The trial court heard Plaintiff’s Motion on 16 December 2019. That

       morning, around fifteen minutes before the hearing began, Blake filed an

       Amendment to the Blake Report (the Amendment), “intended to be responsive to

       paragraph 3(e) [sic]” of the Approval Order.2 The Amendment revised Exhibit B and

       stated “[b]ased on my calculations, the Plaintiff (Culbreth) is liable to the Defendant

       (Manning) in the amount of $261,530.”

¶ 10          The next day, on 17 December 2019, “[a]fter considering all competent matters

       of record, including the verified Motion [to Enforce], with exhibits, and other proper

       evidence submitted in support and in opposition to the Motion, together with the

       applicable law and the arguments of counsel,” the trial court entered its Order

       granting Plaintiff’s Motion to Enforce the Settlement Agreement and entering



              2 The Record reflects that at 5:26 p.m. on 15 December 2019, counsel for Defendant

       sent Blake an email with the subject line “Referee’s report,” to “follow[ ] up on [an] earlier
       conversation.” In the email, counsel requested “[Blake] consider filing an amendment to [the
       Blake] report as I have argued … is required under the Settlement Agreement and [the trial
       court’s] order and in that amendment set out the amount which either or both part[ies] must
       pay to balance their respective capital accounts at Southeast.”
                                      CULBRETH V. MANNING

                                          2021-NCCOA-177

                                         Opinion of the Court



       Judgment against Defendant in the amount of $170,349.00 in 10 CVS 2964.

       Defendant timely appealed from the trial court’s Order on 15 January 2020.

                                              Issues

¶ 11         The dispositive issues on appeal are whether (I) the trial court’s Order is an

       order to enforce a settlement agreement or is an adoption of a referee’s report under

       N.C. R. Civ. P. Rule 53 for purposes of applying the correct standard of review; and

       (II) in turn, applying the proper standard of review, the trial court erred in entering

       the Order granting Plaintiff’s Motion to Enforce the Settlement Agreement and in

       entering Judgment against Defendant.

                                             Analysis

                                       I. Standard of Review

¶ 12         The status of the Blake Report as a Rule 53 referee report is relevant for the

       determination of the appropriate standard of review to apply to the trial court’s

       Order. The parties dispute whether Blake was serving in his capacity as a referee

       under N.C. R. Civ. P. Rule 53 after the Settlement Agreement and Approval Order

       appointed him to create the Blake Report. Plaintiff contends, although not expressly

       appointed under Rule 53, Blake was acting his capacity as a Rule 53 referee because

       the Settlement Agreement and Approval Order directed him to review Southeast’s

       records and to subsequently create and file the Blake Report with the trial court.

       Thus, when the trial court entered its Order to enforce the Settlement Agreement
                                      CULBRETH V. MANNING

                                          2021-NCCOA-177

                                         Opinion of the Court



       and entered Judgment against Defendant, it was adopting the Blake Report as a

       referee report. See N.C. Gen. Stat. § 1A-1, Rule 53(g) (2019). Defendant argues the

       Order should be treated as captioned—as an order to enforce a settlement agreement.

¶ 13         “[O]ur standards of review are dictated by the substance of the motion under

       consideration and the type of hearing conducted . . . .” Sfreddo v. Hicks, 266 N.C.

       App. 84, 88, 831 S.E.2d 353, 356 (2019) (citation omitted). “Appellate review of

       factual findings made by a referee and adopted by the trial court is limited to whether

       the challenged findings were supported by any competent evidence. Challenged legal

       conclusions are reviewed de novo.” Bullock v. Tucker, 262 N.C. App. 511, 518-19, 822

       S.E.2d 654, 659 (2018) (citations and quotation marks omitted). Meanwhile, “[a]

       motion to enforce a settlement agreement is treated as a motion for summary

       judgment for purposes of appellate review[,]” Williams v. Habul, 219 N.C. App. 281,

       288, 724 S.E.2d 104, 109 (2012) (citation and quotation marks omitted), and “[o]ur

       standard of review of an appeal from summary judgment is de novo[.]” In re Will of

       Jones, 362 N.C. 569, 573, 669 S.E.2d 572, 576 (2008).

¶ 14         Under Rule 53 of the North Carolina Rules of Civil Procedure,

                 the court may, upon the application of any party or on its own
                 motion, order a reference in the following cases:

                    a. Where the trial of an issue requires the examination of a
                    long or complicated account; in which case the referee may be
                    directed to hear and decide the whole issue, or to report upon
                    any specific question of fact involved therein.
                                      CULBRETH V. MANNING

                                          2021-NCCOA-177

                                         Opinion of the Court




                    b. Where the taking of an account is necessary for the
                    information of the court before judgment, or for carrying a
                    judgment or order into effect.

       N.C. Gen. Stat. § 1A-1, Rule 53(a)(2) (2019).

¶ 15         Furthermore, “[t]he referee shall prepare a report upon the matters submitted

       to him by the order of reference and shall include therein his decision on all matters

       so submitted.” Id. § 1A-1, Rule 53(g)(1). Once filed,

                 All or any part of the report may be excepted to by any party
                 within 30 days . . . . Thereafter, and upon 10 days’ notice to the
                 other parties, any party may apply to the judge for action on the
                 report. The judge after hearing may adopt, modify or reject the
                 report in whole or in part, render judgment, or may remand the
                 proceedings to the referee with instructions.

       Id. § 1A-1, Rule 53(g)(2).

¶ 16         The parties do not dispute Blake was originally appointed by the trial court in

       the 2011 Referee Order to serve as a Rule 53 referee, and further that Blake filed a

       series of three reports complying with the 2011 Referee Order. However, the 2011

       Referee Order is the only order expressly appointing Blake as a referee. The current

       dispute is whether the Blake Report, created in accordance with the Settlement

       Agreement, was also done so as a Rule 53 referee’s report.

¶ 17         Here, the Settlement Agreement and the trial court’s Approval Order directed

       Blake to review the records of Southeast and to file a report including a balance sheet

       and statement of Southeast’s profits and losses, as was consistent with Blake’s role
                                       CULBRETH V. MANNING

                                           2021-NCCOA-177

                                          Opinion of the Court



       under the 2011 Referee Order. Such direction is also consistent with the function of

       Rule 53, which provides for a reference “[w]here the taking of an account is necessary

       for the information of the court before judgment, or for carrying a judgment or order

       into effect.” N.C. Gen. Stat. § 1A-1, Rule 53(a)(2)(b).

¶ 18         Furthermore, the trial court’s Order for Completion of Capital Account Report,

       entered in 2019 upon a motion filed by Plaintiff after Blake failed to meet the deadline

       in the Settlement Agreement, stated “the Referee shall serve the report contemplated

       by paragraph 2(e) of the parties’ Settlement Agreement to each of the parties’ counsel

       of record . . . .” (emphasis added). Even further, in email communication dated the

       day before the 16 December 2019 hearing, Defendant’s counsel communicated with

       Blake about the status and contents of the “Referee’s report.”

¶ 19         Thus, although Blake satisfied his initial role as contemplated in the 2011

       Referee Order when he filed the three reports, the 2010 Action was not finally

       resolved until the trial court’s December 2019 Order, from which this appeal was

       taken.3 Accordingly, it is apparent from the trial court’s subsequent orders and the

       parties communications, Blake continued to serve as a Rule 53 referee until the entry

       of the trial court’s Order in 2019. The Blake Report, as contemplated in the parties’

       Settlement Agreement and the trial court’s Approval Order, is a referee report.



             3  The $170,349.00 Judgment entered against Defendant was intended to finally
       resolve 10 CVS 2964 and is now part of Defendant’s appeal.
                                       CULBRETH V. MANNING

                                           2021-NCCOA-177

                                          Opinion of the Court



       Plaintiff’s Motion to Enforce sought to enforce the findings of the Blake Report as

       incorporated by the Settlement Agreement “through entry of a judgment directing

       that Defendant [Manning] pay Culbreth $170,349.00.” Thus, we review “factual

       findings made by a referee and adopted by the trial court” for “whether the challenged

       findings were supported by any competent evidence[,]” and conclusions of law made

       in accordance de novo. Bullock, 262 N.C. App. at 518-19, 822 S.E.2d at 659 (citation

       and quotation marks omitted).

                                     II. Settlement Agreement

¶ 20         Ultimately, Defendant “appeals the Court’s interpretation of the Blake Report

       and the trial court’s failure to require that all provisions of the Settlement Agreement

       were complied with prior to entering a judgment.” Because we determined the Blake

       Report was indeed a Rule 53 referee report, “[a]ppellate review of factual findings

       made by a referee and adopted by the trial court is limited to whether the challenged

       findings were supported by any competent evidence.” Bullock, 262 N.C. App. at 518,

       822 S.E.2d at 659 (citation and quotation marks omitted). Any conclusions of law

       made in accordance are reviewed de novo. Id. at 519, 822 S.E.2d at 659.

¶ 21         Paragraph 2(e) of the Settlement Agreement directed “The Blake Report . . .

       shall direct that either Plaintiff or Defendant shall make such payment . . . as is

       necessary to balance their Southeast capital accounts.” (emphasis added). The Blake

       Report, as submitted on 12 November 2019, reported: “Paragraph 2(e) directs me to
                                       CULBRETH V. MANNING

                                           2021-NCCOA-177

                                          Opinion of the Court



       determine the capital account of each member of [Southeast]. As of December 31,

       2018 the capital account of [Defendant] Manning was a deficit of $501,965, the capital

       account of [Plaintiff] Culbreth was a deficit of $331,616. I have attached Exhibit A to

       this letter.” Exhibit A, attached to the Blake Report, reiterated the respective deficits

       and reports a combined total deficit of $833,581.00. The Blake Report also attached

       Exhibit B, which it clarified: “The purpose of Exhibit B is to provide the Court with a

       summary that may be useful in quantifying the facts and circumstances provided in

       previous paragraphs. . . . Presented in Exhibit B are three additional financial

       groupings that are not strictly capital contributions or distributions.” (emphasis

       added).

¶ 22         Defendant contends the Blake Report—prior to the addition of the

       Amendment—was not responsive to paragraph 2(e) because it did not expressly direct

       either party to “make such payment . . . necessary to balance their Southeast capital

       accounts[,]” and therefore paragraph 2(e) was only satisfied when Blake filed his

       Amendment directing Plaintiff to pay Defendant $261,530.00 on 16 December 2019.

       Defendant further contends no competent evidence supports the trial court’s decision

       to disregard Exhibit B.

¶ 23         Per the Blake Report, the respective capital accounts were as shown on Exhibit

       A: Defendant’s deficit of $501,965.00 and Plaintiff’s deficit of $331,616.00, combined

       for a total deficit of $833,581.00. Defendant’s argument asserting no competent
                                       CULBRETH V. MANNING

                                           2021-NCCOA-177

                                          Opinion of the Court



       evidence supports the trial court’s decision to disregard Exhibit B is refuted by the

       language of Exhibit B—namely, the “three additional financial groupings” presented

       therein, “are not strictly capital contributions or distributions.”

¶ 24          However, the trial court’s subtraction of Plaintiff’s $331,616.00 deficit from

       Defendant’s $501,965.00 deficit, and the entry of judgment in the amount of the

       $170,349.00 difference, do not balance the two capital accounts. Therefore, reviewing

       this finding for support from competent evidence, we conclude the entry of default

       judgment against Defendant in the amount of $170,349.00 is not supported by

       competent evidence in the Record, including the Blake Report.

¶ 25          Instead, as Defendant correctly notes on appeal, to balance the parties’

       respective capital accounts, the finally balanced accounts would need to have equal

       deficits.   To determine the amount required to balance the accounts, Plaintiff’s

       $331,616.00 deficit and Defendant’s $501,965.00 deficit would be added together,

       resulting in a combined deficit of $833,581.00, as shown in Exhibit A.           The

       $833,581.00 deficit would then be divided by the two capital accounts, showing the

       capital accounts would be balanced with equal deficits of $416,790.50. Therefore, to

       ultimately balance the two Southeast capital accounts, Defendant would need to pay
                                         CULBRETH V. MANNING

                                              2021-NCCOA-177

                                            Opinion of the Court



       Plaintiff $85,174.50, which would render the respective capital accounts with equal

       deficits of $416,790.50.4

¶ 26          Accordingly, the trial court’s entry of Judgment against Defendant in the

       amount of $170,349.00 is not consistent with the Settlement Agreement’s direction

       for the capital accounts be balanced or with the Blake Report’s findings. On remand,

       the trial court may consider all competent evidence before it. Consistent with Rule

       53(g), the trial court “may adopt, modify or reject the report in whole or in part, render

       judgment, or may remand the proceedings to the referee with instructions.” N.C.

       Gen. Stat. § 1A-1, Rule 53(g)(2).

                                               Conclusion

¶ 27          Accordingly, for the foregoing reasons, the trial court’s Order to Enforce the

       Settlement Agreement and entering Judgment against Defendant is vacated. The

       matter is remanded to the trial court for further findings and proceedings in

       accordance with N.C.R. Civ. P. 53.


              4 Put another way and in the context of dissolving and winding-up the LLC, under

       this calculation, Defendant really owes Southeast $170,349.00 for distributions received in
       excess of his membership interest. In winding up the LLC, once Southeast “collects” the
       $170,349.00, see N.C. Gen. Stat. § 57D-6-07(d) (2019), Southeast’s assets would be marshalled
       and applied by distributing “[t]he balance to the interest owners as distributions in the
       manner provided in G.S. 57D-4-03.” Id. § 57D-6-08. N.C. Gen. Stat. § 57D-4-03 provides in
       relevant part: “Distributions to interest owners . . . after the dissolution of the LLC, may be
       made . . . in such amounts as determined by the LLC in proportion to the ratios that the
       aggregate combined contribution amounts of the interest owners bear to one another . . . .”
       Id. § 57D-4-03. Here, this would result in the $170,349.00 being distributed to each member
       according to their 50% interest, or $85,174.50 apiece.
                    CULBRETH V. MANNING

                       2021-NCCOA-177

                      Opinion of the Court



VACATED AND REMANDED.

Judges TYSON and INMAN concur.
